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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 17-CR-60304-BLOOM


      UNITED STATES OF AMERICA,

             Plaintiff,                                                            .

      vs.

      DONALD MOON,

           Defendant.
      ___________________________/


                            DEFENDANT’S MOON’S UNOPPOSED MOTION
                            CONTINUE THE FINAL REVOCATION HEARING

             COMES NOW, Donald Moon, by and through undersigned counsel, and

      respectfully requests that the Final Revocation Hearing for the Violation of Probation in

      this matter be continued for an additional two weeks. As grounds in support thereof the

      defense would state the following:

             1.         Mr Moon is trying to cooperate with the Government, however do to the

      holiday season and scheduling con icts there has not been enough time to set up a

      debrie ng.

             2.         For Debrie ng purposes only, undersigned counsel is asking for an

      additional two weeks so all of the parties can get together and decide on how to

      proceed.

             3.         Undersigned counsel has conferred with AUSA Marc Anton and he does

      not object to a continuance at this time.




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           4.    Undersigned counsel believes the parties have reached a resolution and

 there will not be a nal contested hearing.

           WHEREFORE the defense respectfully requests this motion be granted.

           I HEREBY CERTIFY that the foregoing was led using the CM/ECF system, on

 this 30th day of November, 2022.


                                             Respectfully Submitted,

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                                             FL. Bar No. 096910




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